        Case 1:17-cv-02989-AT Document 1760-4 Filed 01/03/24 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
                                   :
                                   :
 DONNA CURLING, et al.,            :
                                   :
     Plaintiffs,                   :
                                   :       CIVIL ACTION NO.
 v.                                :       1:17-cv-2989-AT
                                   :
 BRAD RAFFENSPERGER, et al.,       :
                                   :
                                   :
     Defendants.                   :
                               ORDER

       By prior Orders, the Court authorized a limited and secure inspection of the

data and methods Dr. Halderman developed and used in conducting the proof-of-

concept attacks discussed in the Halderman Report. (See Docs. 1745, 1749.) The

Court ruled that two of Defendants’ consulting experts and one attorney shall be

permitted to conduct the inspection under strict protocols involving, among other

measures, supervised access at a secure location on a password-protected laptop

in a secure, non-networked, non-Internet accessible environment. The general

protocols governing the inspection that the Court ruled shall apply are attached as

Attachment A.1

       The Court further ordered that the three reviewers must sign a

confidentiality agreement, developed by the parties. (See Doc. 1745.) In accordance



1 While the original proposed protocols provided for inspection on December 19 or 20, 2023, the

Court ordered the parties to confer in good faith to select a date (or dates) that would work for
both sides. (See Doc. 1745.)
       Case 1:17-cv-02989-AT Document 1760-4 Filed 01/03/24 Page 2 of 3




with these directives, the parties crafted a Confidentiality Agreement that:

incorporates the prior approved protocols (outlined in Attachment A); adds

logistical details and final conditions for the inspection; and includes an

Agreement to be Bound, to be signed by each reviewer and receiving party. The

Agreement to Be Bound states that the signing individual agrees to be bound by

the ongoing Protective Order in this case; that the signing individual submits to

the jurisdiction of the Court in all matters related to the Confidentiality Agreement;

that the terms of the Confidentiality Agreement are fully enforceable by the Court;

and that violation of the Confidentiality Agreement may result in penalties for

contempt of court. The Confidentiality Agreement (including the originally

approved protocols, the final agreed-upon conditions of the inspection, and the

Agreement to be Bound) is attached as Attachment B. In addition, each of the three

reviewers has executed an Agreement to be Bound. These executed agreements are

attached as Attachment C.

      The Court hereby ORDERS that the parties SHALL comply with the

inspection protocols outlined in Attachments A and B and with all terms of the

Confidentiality Agreement outlined in Attachment B. Any violation of the terms of

the Confidentiality Agreement may result in penalties for contempt of Court.

      Further, the parties agree that, to ensure full transparency in this process,

this Order should be filed on the public docket, as should the Court’s Orders of

December 13, 2023 (Doc. 1735) and December 15, 2023 (Doc. 1745). Accordingly,

the Clerk is DIRECTED to lift the seal on docket entries 1735 and 1745.

                                          2
Case 1:17-cv-02989-AT Document 1760-4 Filed 01/03/24 Page 3 of 3




 IT IS SO ORDERED this 3rd day of January, 2024.



                             ____________________________
                             Honorable Amy Totenberg
                             United States District Judge




                               3
